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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                     Plaintiffs,                    Civil Action No. 3:22-cv-00211-SDD-SDJ

               v.                                   Chief Judge Shelly D. Dick

KYLE ARDOIN, in his official capacity as            Magistrate Judge Scott D. Johnson
Secretary of State for Louisiana,

                     Defendant.

EDWARD GALMON, SR., et al.,

                     Plaintiffs,                    Consolidated with
                                                    Civil Action No. 3:22-cv-00214-SDD-SDJ
               v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                     Defendant.

               DECLARATION OF ROBERT J. TUCKER IN SUPPORT OF
                    MOTION FOR ADMISSION PRO HAC VICE

       I, Robert J. Tucker, declare the following:

       1.      I have personal knowledge of the matters stated in this declaration and could

competently testify to the same if called upon to do so.

       2.      No disciplinary proceedings or criminal charges have been instituted against me.

       3.      A Certificate of Good Standing from the Supreme Court of Ohio (“Certificate”),

issued within the past six months of the filing of the associated motion for admission pro hac vice,

is attached to this Declaration as Exhibit 1. The Certificate shows that I have been admitted to that

court, and that I am in good standing of that court.




                                                                               EXHIBIT A
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       Furthermore, I DO SOLEMNLY SWEAR that I will conduct myself as an attorney and

counselor of this Court, uprightly and according to law; and that I will support the Constitution of

the United States.

       I declare under the penalty of perjury that the foregoing is true and correct.

Dated: August 29, 2023                               Respectfully submitted,

                                                      /s/ Robert J. Tucker
                                                     Robert J. Tucker
